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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

      Civil Action No. 1:20-cv-02274

      LIFELINK FOUNDATION, INC.,

                   Plaintiff,

      v.

      LIFELINK.COM, INC.,

                   Defendant.



                         VERIFIED COMPLAINT AND JURY DEMAND


           Plaintiff, LifeLink Foundation, Inc. (“LifeLink”) files this Verified Complaint against

  LifeLink.com, Inc. (“LifeLink.com”) seeking an injunction and damages on the grounds of

  federal trademark infringement, false designation of origin, passing off, false advertising, and

  common law trademark infringement and unfair competition under Colorado law.

                                       NATURE OF THE CASE

           1.     This is an action for federal trademark infringement, false designation of origin,

  passing off, and false advertising pursuant to 15 U.S.C. §§ 1114, 1125(a), and for related claims

  under applicable Federal and State laws arising out of and in connection with LifeLink.com’s

  unauthorized use of the trademark “LifeLink” in commerce in connection with the marketing and

  sale of its subscription-based healthcare software and conversational patient engagement

  platform utilizing chatbots. 1


  1
   A chatbot is a software program, or part of a software program, that is designed to simulate
  conversations with human users, especially over the internet or via text messages.
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                                              PARTIES

          2.     Plaintiff LifeLink is a non-profit community service organization founded in 1982

  and based in Tampa, Florida. LifeLink is dedicated to the recovery of life-saving and life-

  enhancing organs and tissues for transplantation therapy.

          3.     Defendant LifeLink.com is a Delaware corporation formed in May of 2015 that

  has offices in Oakland, California and Denver, Colorado. LifeLink.com provides healthcare-

  related products and services via its software platform.

                                   JURISDICTION AND VENUE

          4.     This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

  § 1121(a) and 28 U.S.C. §§ 1331 and 1338 in that this civil action arises under the Trademark

  Laws of the United States, Lanham Act 15 U.S.C. § 1051 et seq.

          5.     This Court has original jurisdiction over this action over LifeLink’s claims arising

  under the laws of the United States, particularly under the federal Trademark Act, as amended,

  15 U.S.C. § 1051 et seq and has jurisdiction over any state claims pursuant to 28 U.S.C. § 1331,

  1367.

          6.     This Court has supplemental jurisdiction over this action pursuant to 28 U.S.C.

 § 1367(a) with respect to claims under the laws of the State of Colorado, insofar as such claims

 are so related to other claims over which this Court has original jurisdiction that they form part of

 the same case or controversy under Article III of the United States Constitution.

          7.     This Court has personal jurisdiction over LifeLink.com and venue is proper in this

  District, including pursuant to 28 U.S.C. §§ 1391(b) and (c), because LifeLink.com has offices in



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  Denver, Colorado, does business in Colorado, and a substantial portion of the events giving rise

  to LifeLink’s claims occurred in this District.

                     FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

  I.      LIFELINK

        8.       LifeLink is a world-renowned organization dedicated to the procurement of

  organs within hospitals through its organ procurement programs and to the recovery and supply

  of organs and tissues for transplantation therapies throughout the United States and

  internationally.

        9.       As part of the Organ Procurement and Transplantation Network—a federally

  mandated network created by and overseen by the United Network for Organ Sharing—LifeLink

  evaluates and procures deceased-donor organs for recovery and transplantation. LifeLink is the

  sole federally designated Organ Procurement Organization (“OPO”) for three of the fifty-eight

  federally established service areas for purposes of organ procurement: LifeLink of Georgia

  procures organs in Georgia, LifeLink of Puerto Rico procures organs in Puerto Rico and the U.S.

  Virgin Islands, and LifeLink of Florida procures organs on the west coast of Florida and in

  Martin County, on Florida’s east coast. Organs procured and recovered by LifeLink are

  transplanted across the United States.

        10.      In addition, the LifeLink Tissue Bank operates nationally and internationally in

  the highly competitive tissue transplantation arena. LifeLink Tissue Bank is one of the largest

  non-profit tissue banks in the United States, and places tissue in the all 50 states (plus the District

  of Columbia and Puerto Rico), the United Kingdom, Barbados, Canada, the Republic of China,

  the Dominican Republic, Ecuador, Germany, Korea, New Zealand, Peru, Saudi Arabia,
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  Switzerland, and the United Arab Emirates. LifeLink Tissue Bank works directly with numerous

  hospitals and some of the largest healthcare and medical device companies to provide tissue and

  related products.

        11.      LifeLink also supports research efforts to enhance the available supply of organs

  and tissue for transplant, and through its Transplantation Immunology Laboratory, it improves

  clinical outcomes of patients by matching potential donors and recipients.

  II.    LIFELINK’S TRADEMARKS

        12.      Over thirty years ago, LifeLink adopted the marks LIFELINK and LIFELINK

  (logo) (the “LIFELINK Common Law Marks”) in connection with its organ procurement,

  recovery, and placement services, tissue banks, research, and related goods and services, and has

  been marketing and selling such organ and tissue-related goods and services under the

  LIFELINK Common Law Marks ever since.

        13.      As such, the LIFELINK Common Law Marks have been used to identify and

  distinguish LifeLink’s organ and tissue-related services from those of others for several decades.

        14.      In addition, LifeLink has established substantial goodwill and valuable customer

  recognition in its LIFELINK Common Law Marks locally, statewide, nationwide, and

  internationally through its marketing efforts and otherwise.

        15.      LifeLink also owns several federal trademark/service mark registrations for its

  LIFELINK trademarks with the United States Patent and Trademark Office (“USPTO”),

  including, LIFELINK, Registration No. 2,484,196; LIFELINK (Logo), Registration

  No. 3,339,352; and LIFELINK LEGACY FUND, Registration No. 3,439,932 (the “LIFELINK®

  Marks,” and together with the LIFELINK Common Law Marks, the “LIFELINK Marks”).
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         16.    Specifically, the Registered Marks are as follows:

                a.      Reg. No. 2,484,196 (September 04, 2001): for LIFELINK as a Service
                        Mark in International Class 041 for Educational Service and International
                        Class 042 for services related to transplantation of human organs and
                        tissue in, namely, human organ and tissue procurement, processing and
                        preservation services [medical and] laboratory services relating to organ
                        and tissue transplantation, [comprehensive medical, surgical and trans-
                        plant care,] medical research services [and counseling services] for
                        transplant patients, with a date of first use in commerce in 1988.

                b.      Reg. No. 3,339,352 (November 20, 2007): for LIFELINK’s Logo, in
                        International Classes 41, 42, and 44, with a date of first use in commerce
                        in 1988.

                c.      Reg. No. 3,439,932 (June 3, 2018): for LIFELINK LEGACY FUND as a
                        Service Mark in International Class 036 for charitable fundraising services
                        in support of medical care, direct patient assistance, patient care, research
                        and development, endowment, organ procurement, human organ and
                        tissue transplantation and donation, medications for patients, and services
                        related to the medical field with a first use in commerce date of June 30,
                        1998.

        17.     LifeLink has renewed the LIFELINK® Marks, and those marks are still active and

  in use in commerce today.

        18.     One of the LIFELINK® Marks – United States Registration No. 2,484,196, for

  LIFELINK – is incontestable pursuant to 15 U.S.C. §§ 1065 and 1115(b).

         19.    The LIFELINK® Marks are conceptually strong in that they are arbitrary for use

  in connection with LifeLink’s goods and services.

         20.    LifeLink has invested substantial time, money, and effort in developing the

  goodwill associated with the LIFELINK Marks in connection with its healthcare business. In

  particular, LifeLink has spent more than $42 million since 2003, and more than $10 million in




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  the last three years alone, marketing and promoting its mission together with its valuable

  intellectual property.

         21.       LifeLink also spends upwards of $1 million annually to maintain its visibility and

  brand awareness in the highly competitive nationwide tissue bank industry.

         22.       The LIFELINK Marks are inherently distinctive trademarks, and as such, they

  have acquired special significance as the name of a distinct and recognized healthcare foundation

  that has been actively procuring organs for transplant since 1982 and which has registered

  LIFELINK as a service mark with the USPTO since as early as 2001.

  III.   LIFELINK.COM’S INFRINGEMENT OF LIFELINK’S MARKS

         23.       On or about July 8, 2019, LifeLink learned that LifeLink.com was using the

  LIFELINK Marks for its healthcare-related business unlawfully and without LifeLink’s

  authorization.

         24.       LifeLink has since learned that LifeLink.com is using the LIFELINK Marks, in

  similar channels of trade, in a manner that is identical to the LIFELINK Marks, is not within fair

  use, and is without LifeLink’s authorization, in connection with the advertising and offering of

  its subscription-based software for health care facilities, in its conversational patient engagement

  platform, and in its marketing materials, advertisements, and websites for such business.

         25.       LifeLink.com’s “LIFELINK” mark is identical or nearly identical to the

  LIFELINK Marks in appearance, sound, connotation, and commercial impression.

         26.       LifeLink.com improperly uses the LIFELINK Marks in its mark in connection

  with its software and patient engagement platform for a healthcare related business in a manner



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  that suggests an affiliation with LifeLink, especially since LifeLink’s business is also in the

  healthcare field.

         27.     LifeLink.com’s improper use of the LIFELINK Marks in its mark is particularly

  concerning because LifeLink.com’s software is marketed and sold to health care facilities,

  including large hospitals and healthcare research companies, which have a history of doing

  business with or otherwise being associated with LifeLink.

         28.     LifeLink.com is not authorized to use the LIFELINK Marks in its mark in

  connection with its activities related to the healthcare industry, including targeting LifeLink’s

  existing clients and other healthcare providers and suppliers.

         29.     LifeLink.com has never asked for, nor obtained, permission from LifeLink to use

  the LIFELINK Marks in its mark in connection with its healthcare-related business.

         30.     LifeLink.com’s improper use of the LIFELINK Marks in its marks gives

  consumers the false impression that LifeLink.com is either endorsed by or affiliated with

  LifeLink, which—in light of its similar focus on healthcare industry—is likely to cause

  confusion among reasonable consumers of such products.

         31.     LifeLink.com’s website and other promotional materials are misleading

  consumers of LifeLink’s products and services into believing there is an association and/or

  affiliation between LifeLink and LifeLink.com.

  IV.    LIFELINK’S ATTEMPTS TO RESOLVE THE MATTER SHORT OF
         LITIGATION

         32.     On August 16, 2019, counsel for LifeLink sent a cease and desist letter to

  LifeLink.com addressing the matter of its trademark infringement.

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         33.     On September 24, 2019, counsel for LifeLink.com sent a response letter to

  counsel for LifeLink refusing to make any changes to its name and/or its continuing use of the

  LIFELINK Marks in its own marks.

         34.     On January 27, 2020, counsel for LifeLink sent an email to counsel for

  LifeLink.com again stating its preference to resolve the matter informally and requesting an

  opportunity to discuss the matter telephonically. Counsel for the parties spoke on the phone on

  or about January 31, 2020, but LifeLink.com again refused to cease its unlawful conduct.

         35.     On July 23, 2020, counsel for LifeLink sent another email to counsel for

  LifeLink.com inquiring once more as to whether LifeLink.com would consider resolving the

  dispute short of litigation. Between July 23, 2020 and July 31, 2020, counsel for the parties

  exchanged several emails and principals for the parties engaged in two telephone conversations.

  Again, LifeLink.com refused to cease its unlawful conduct.

  V.     THE CONSEQUENCES OF LIFELINK.COM’S INFRINGEMENT

         36.     LifeLink.com’s inappropriate and prominent use of “LIFELINK” in connection

  with its name in a healthcare-related business is likely to confuse, and, on information and belief,

  has confused, the consuming public to such an extent that the public will believe that

  LifeLink.com and LifeLink are related parties when, in fact, they are not.

         37.     As a result of LifeLink.com’s trademark infringement and other illegal actions,

  LifeLink has been and is continuing to be irreparably harmed.

         38.     As a result of LifeLink.com’s trademark infringement and other illegal actions,

  LifeLink has also suffered damages in an amount to be determined.



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                                          COUNT I
                       Federal Trademark Infringement – 15 U.S.C. §§ 1114

         39.     LifeLink reincorporates by reference the foregoing paragraphs of this complaint

  as though fully set forth herein.

         40.     LifeLink’s LIFELINK® Marks are inherently distinctive and/or have established

  secondary meaning as evidenced by their registrations with the USPTO.

         41.     LifeLink.com has engaged in the acts set forth above in bad faith to cause

  confusion and to deceive and defraud both the public and consumers of LifeLink’s healthcare-

  related services.

         42.     As set forth above, LifeLink.com has, without LifeLink’s consent, used in

  commerce a reproduction, counterfeit, copy, or colorable imitation of the LIFELINK® Marks in

  connection with its name and marketing of its healthcare-related business.

         43.     The unauthorized use of the LIFELINK® Marks by LifeLink.com is likely to

  cause, and has caused, confusion and mistake, and is likely to deceive, and has deceived, the

  consuming public as to the source, relatedness, affiliation, connection, or association of

  LifeLink.com and its products and services with those of LifeLink.

         44.     LifeLink.com’s actions constitute violations of Section 32(1)(a) of the Lanham

  Act, 15 U.S.C. § 1114(1)(a).

         45.     LifeLink.com’s conduct has and will continue to cause confusion to, mistake by,

  and deception of customers as to the relatedness and source of LifeLink.com’s services and/or its

  relationship with LifeLink.




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         46.     As a direct and proximate result of LifeLink.com’s deliberate and intentional

  infringement, LifeLink has suffered and continues to suffer irreparable harm for which it has no

  adequate remedy at law.

         47.     LifeLink.com’s conduct has and will continue to cause irreparable harm to

  LifeLink unless enjoined by this Court.

         48.     LifeLink.com’s deliberate and intentional infringement makes this an exceptional

  case under 15 U.S.C. § 1117(a) and allows for the award of LifeLink.com’s profits, treble

  damages, and the costs of the action including its reasonable attorneys’ fees and costs.

                                                COUNT II
                             False Designation of Origin – 15 U.S.C. § 1125(a)

         49.     LifeLink incorporates by reference the foregoing paragraphs of this complaint as

  though fully set forth herein.

         50.     LifeLink.com’s actions in using the LIFELINK® Marks in connection with its

  name and marketing for healthcare related services constitute a false designation of origin,

  sponsorship, or approval in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

         51.     LifeLink.com has improperly promoted its business via its website and social

  media to potential customers of LifeLink and, in doing so, has misrepresented the nature of its

  business to be those of and/or related to LifeLink.

         52.     LifeLink.com has and continues to engage in the aforementioned acts with the

  intent to deceive and defraud the public and consumers of LifeLink’s healthcare-related services

  to pass and palm off LifeLink.com’s healthcare software as being affiliated with, or sponsored

  by, LifeLink. LifeLink.com’s improper and infringing acts have created and are likely to

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  continue to create confusion in the minds of reasonable consumers as to the affiliation and

  sponsorship of its activities by LifeLink.

         53.     LifeLink.com’s misrepresentations to customers and potential customers by the

  use of marketing and promotion of the infringing name on its website and social media constitute

  a false designation of the origin of the services entering commerce on behalf of LifeLink.com

  and are false descriptions and representations of these healthcare-related goods and services.

         54.     These misrepresentations have and will continue to cause confusion to, mistake

  by, and deception in the minds of reasonable consumers as to the source of origin of the

  healthcare goods and services being sold by LifeLink.com and its agents and as to the existence

  of an affiliation between LifeLink.com and LifeLink, causing irreparable injury to LifeLink.

         55.     LifeLink.com’s conduct has and will continue to cause irreparable harm to

  LifeLink unless enjoined by this Court.

         56.     LifeLink.com’s conduct constitutes a violation of Section 43(a) of the Lanham

  Act, 15 U.S.C. § 1125(a).

         57.     LifeLink.com’s infringement has been and continues to be willful and in bad faith

  because of the continued infringing activities despite actual knowledge of LifeLink’s registration

  of the LIFELINK® Marks and its rights and demands to stop using the LIFELINK® Marks.

         58.     As the direct and proximate result of LifeLink.com’s deliberate and intentional

  infringement, LifeLink.com has unlawfully profited and LifeLink has suffered and will continue

  to suffer irreparable harm for which there is no adequate remedy at law.




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                                             COUNT III
                                   Passing Off – 15 U.S.C. § 1125(a)

         59.      LifeLink incorporates by reference the foregoing paragraphs of this complaint as

  though fully set forth herein.

         60.      By distributing, marketing, and otherwise exploiting itself as related to LifeLink

  and the LIFELINK® Marks in interstate commerce, LifeLink.com is passing off its goods and

  services to the public as if they were associated with LifeLink.

         61.      As a result, members of the healthcare and healthcare research industries have

  been and will continue to be reasonably deceived and/or confused into believing that by utilizing

  software and/or services from LifeLink.com that they are actually working with a business that is

  affiliated with, related to, and/or endorsed by LifeLink.

         62.      LifeLink is seriously injured by such deception as LifeLink.com’s business is not

  affiliated with, related to, and/or endorsed by LifeLink.

         63.      By engaging in the wrongful conduct described herein and above, LifeLink.com

  has violated the passing off restrictions of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

         64.      Because LifeLink.com has engaged in the conduct described herein with actual

  knowledge of the harm being caused to LifeLink by such wrongful conduct and acts, this is an

  exceptional case, which merits an award of treble damages and attorneys’ fees against

  LifeLink.com.

         65.      LifeLink.com’s acts and conduct have caused and will continue to cause LifeLink

  great and irreparable injury that cannot be adequately compensated or measured in damages.

  LifeLink has no adequate remedy at law and has suffered and will continue to suffer irreparable

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  loss, damage, and injury unless LifeLink.com enjoined from continuing to engage in such

  wrongful conduct.

                                            COUNT IV
                               False Advertising – 15 U.S.C. § 1125(a)

         66.     LifeLink incorporates by reference the foregoing paragraphs of this complaint as

  though fully set forth herein.

         67.     LifeLink.com’s unauthorized direct and indirect use of the LIFELINK® Marks, as

  described above, in conjunction with the commercial advertising and promotion of its healthcare-

  related business marketed to hospitals, healthcare, and healthcare research facilities, constitutes

  unfair competition and false advertising in violation of Section 43(a) of the Lanham Act, 15

  U.S.C. § 1125(a).

         68.     LifeLink.com’s direct and indirect false statements and misrepresentations

  concerning its affiliation and/or association with LifeLink are material in that the representations

  are likely to influence, and have influenced, the purchasing decisions of consumers.

         69.     LifeLink.com’s misrepresentations violated, and continue to violate, the Lanham

  Act in that the misrepresentations have actually deceived, or have the tendency to deceive, a

  substantial segment of the healthcare and healthcare research-consuming public that

  LifeLink.com is targeting with its false and misleading advertising, marketing, and promotional

  materials.

         70.     Alternatively, because the LifeLink.com’s statements are literally false, there is a

  presumption under the Lanham Act that the statements actually misled, and continue to mislead,

  consumers.

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         71.     LifeLink.com violated the Lanham Act by placing in interstate commerce, or

  contributing to or acquiescing in its placement, the false and/or misleading statements that its

  products and/or services are LifeLink products and/or services.

         72.     LifeLink.com’s actions herein have been willful, wanton, reckless, undertaken in

  bad faith, and with the intent to deceive and misrepresent the true nature of the LifeLink.com’s

  healthcare products as being those of LifeLink, to LifeLink’s detriment and LifeLink.com’s

  benefit.

         73.     As a direct and proximate result of LifeLink.com’s false and misleading

  advertising and promotions, LifeLink has suffered, is suffering, and will continue to suffer

  damages.

                                           COUNT V
                                     Damages – 15 U.S.C. § 1117

         74.     LifeLink incorporates by reference the foregoing paragraphs of this complaint as

  though fully set forth herein.

         75.     LifeLink.com has actual knowledge and is aware of the LIFELINK® Marks’

  registration with the USPTO via, at the latest, the letter sent by LifeLink’s counsel to

  LifeLink.com in August of 2019.

         76.     LifeLink.com’s deliberate and deceptive use of the LIFELINK® Marks has been

  done with knowledge and intent to cause confusion, mistake, and deception in the healthcare

  industry.

         77.     As a result, LifeLink has been damaged in its business, and LifeLink.com has

  wrongfully profited therefrom.

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         78.     Accordingly, LifeLink is entitled to money damages of LifeLink.com’s profits

  pursuant to 15 U.S.C. § 1117(a), (b) and 15 U.S.C. § 1111.

                                         COUNT VI
                       Trademark Infringement – Colorado Common Law

         79.     LifeLink incorporates by reference the foregoing paragraphs of this complaint as

  though fully set forth herein.

         80.     LifeLink is the owner of protectable rights in and to the LIFELINK Common Law

  Marks in connection with healthcare and healthcare research-related products and services.

         81.     The LIFELINK Common Law Marks have achieved secondary meaning through

  LifeLink’s continued and widespread use for over thirty years in connection with, inter alia,

  healthcare and healthcare research-related products and services.

         82.     LifeLink has established goodwill associated with these marks and LifeLink.com

  is trading upon LifeLink’s goodwill through unauthorized and unlicensed use of the LIFELINK

  Common Law Marks

         83.     LifeLink.com’s intentional unauthorized use of a confusingly similar designation

  for its closely related healthcare and healthcare research-related products and services, namely

  “LIFELINK,” has caused, and unless enjoined is likely to continue to cause, confusion, mistake,

  or to deceive the purchasing public to the damage of LifeLink.

         84.     LifeLink.com’s intentional unauthorized use of the name “LIFELINK,” which

  appropriates the entirety of the LIFELINK Common Law Marks, in connection with the

  promotion and sale of LifeLink.com’s closely related healthcare and healthcare research-related




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  products and services constitutes an infringement of LifeLink’s preexisting and long-standing

  rights in the LIFELINK Common Law Marks which LifeLink acquired in good faith.

         85.     By refusing to discontinue its use of the confusingly similar name “LIFELINK,”

  LifeLink.com has willfully, deliberately, maliciously, intentionally, knowingly, and in bad faith

  violated, and continues to violate, the common law rights of LifeLink.

         86.     LifeLink.com’s acts of common law trademark infringement have caused

  irreparable injury to LifeLink and have resulted in, and will continue to result in, unjust

  enrichment to LifeLink.com unless LifeLink.com is enjoined by this Court from further

  violations of LifeLink’s common law rights.

         87.     LifeLink has no adequate remedy at law.

                                          COUNT VII
                           Unfair Competition – Colorado Common Law

         88.     LifeLink incorporates by reference the foregoing paragraphs of this complaint as

  though fully set forth herein.

         89.     LifeLink.com’s intentional and willful actions set forth above constitute unlawful

  “passing off” under Colorado unfair competition common law.

         90.     LifeLink.com’s actions have caused, and will continue to cause, irreparable injury

  to LifeLink and have resulted in, and will continue to result in, unjust enrichment to

  LifeLink.com unless LifeLink.com is restrained and/or enjoined by this Court from further

  violations of LifeLink’s rights.

         91.     LifeLink has no adequate remedy at law.




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                                           JURY DEMAND

         Plaintiff hereby demands a trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

         WHEREFORE, LifeLink requests that the Court enter judgment in its favor and

  to grant the following relief:

         1.      That LifeLink.com’s aforementioned acts be declared to be an

  infringement of LifeLink’s registered trademarks in violation of the trademark laws of the

  United States, Title 15, United States Code, Section 1114 and 1125(a) and that

  LifeLink.com, its respective shareholders, directors, officers, agents, servants, employees,

  assigns, privies, affiliated companies, and all persons in active concert or participation

  with them, and all those controlled by them, be preliminarily and permanently enjoined

  from using the name “LIFELINK” or any other business or trade name that includes

  “LIFELINK” or any variation thereof in any manner whatsoever pertaining to its

  healthcare-related goods and/or services, including on its website, social media, and any

  other print or media;

         2.      That LifeLink.com’s aforementioned acts be adjudged to be unfair

  methods of competition, false designation of origin, and passing off, and that, by virtue

  thereof, LifeLink be awarded the preliminary and permanent injunctive relief set forth in

  paragraph 1 above;

         3.      Pursuant to Title 15 United States Code, Section 1117 and 1111, that

  LifeLink.com be ordered to:



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                  a.     Account for and pay over to LifeLink all gains, profits, and

  advantages derived by it by said trademark infringement, false designations of origin,

  passing off, false advertising, and from its said unfair competition and deception and

  unfair trade practices; and

                  b.     Pay LifeLink damages arising from the above-described acts in a

  just amount to be determined at the trial of this action and in accordance with Title 15,

  United States Code, Section 1117(a), together with costs, disbursements, and reasonable

  attorneys’ fees;

         4.       That this court adjudge that LifeLink.com’s use of the name “LIFELINK”

  for a healthcare-related business is not a fair use of the LIFELINK Marks by

  LifeLink.com;

         5.       That the aforesaid acts of LifeLink.com be adjudged to be trademark

  infringement and unfair competition under the common law of the State of Colorado and

  that LifeLink be granted injunctive relief and awarded damages as determined at trial;

         6.       That LifeLink be awarded damages in the amount that LifeLink.com, by

  its wrongful conduct, has unjustly enriched itself;

         7.       That LifeLink be awarded punitive damages in an amount to be

  determined at trial, by reason of LifeLink.com’s willful, wanton, and intentionally

  deceptive conduct and infringing activities as set forth above;

         8.       That LifeLink be awarded its costs and attorneys’ fees; and,

         9.       That LifeLink be awarded such other and further relief as this Court may

  deem just, proper, and equitable.
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  Dated: July 31, 2020.         Respectfully submitted,



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                                         VERIFICATION

            I, Jean Aiken Davis, am the President and Chief Executive Officer of LifeLink

     Foundation, Inc. (“LifeLink”), and I am authorized to sign this verification on LifeLink’s

     behalf. I have read the foregoing Verified Complaint. The facts set forth therein are true

     and accurate to the best of my knowledge based on the information available to me.

            I declare under penalty of perjury that the foregoing is true and correct.

             s/ Jean Aiken Davis
              Jean Aiken Davis

     Executed on July 31, 2020.
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                         CERTIFICATE OF SERVICE (CM/ECF)

          I HEREBY CERTIFY that on July 31, 2020, I electronically filed the foregoing
     VERIFIED COMPLAINT AND JURY DEMAND with the Clerk of Court using the
     CM/ECF system.

          I FURTHER CERTIFY that the foregoing Verified Complaint and Jury
     Demand is being served on counsel at the email address below:

                                 Aardon D. Hendelman, Esq.
                                Email: ahendelman@wsgr.com

                                        s/ Suzy Rosenkranz
